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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11   PEGATRON CORPORATION,                        Case No.
12                        Plaintiff,              COMPLAINT FOR BREACH OF
                                                  CONTRACT
13   V.
                                                  JURY TRIAL DEMANDED
14   WESTINGHOUSE DIGITAL, LLC,
15                        Defendant.
16
17           Plaintiff PEGATRON CORPORATION ("PEGATRON") alleges:
18                                     NATURE OF THIS ACTION
19            1.        This civil action concerns Defendant WESTINGHOUSE DIGITAL,
20   LLC ("WD") failure to pay more than $52 million for custom manufactured
21   consumer electronic products purchased from PEGATRON between November
22   2012 and March 2013. Further, Defendant failed to pay PEGATRON for licensing
23   fees and royalties PEGATRON paid to third party licensors in connection with
24   manufacturing these products.
25            2.        In or about January 2011, WD and PEGATRON entered into an
26   agreement whereby WD would purchase finished products from manufacturer
27   PEGATRON branded with WD's brand name "Westinghouse," ("OEM
28   Agreement"). Under the OEM Agreement, PEGATRON was an original design
                                                             COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                                                AND JURY TRIAL DEMANDED
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 1   manufacturer ("ODM") and/or original equipment manufacturer ("OEM"). WD
2    purchased, rebranded and retailed PEGATRON-manufactured products under the
3    Westinghouse brand name.
4             3.        Starting in or about January 14, 2013, WD breached the OEM
 5   Agreement with PEGATRON when it failed to pay the full amount invoiced for the
 6   products, approximately 60 days after the invoice date when the obligation became
 7   due. WD continued to breach the OEM Agreement when WD failed to pay the full
 8   amount of any subsequent invoices for these OEM Products. WD further breached
 9   the OEM Agreement by failing to pay for any licensing, royalty, or other such
10   similar fees invoiced by PEGATRON.
11                                  JURISDICTION AND VENUE
12            4.        The amount in controversy exceeds $75,000 exclusive of interest and
13   costs.
14            5.        This Court has jurisdiction under 28 U.S.C. section 1332(a)(2).
15   Plaintiff PEGATRON is a corporation organized and existing under the laws of a
16   foreign state, specifically, Taiwan, while Defendant WD is a limited liability
17   company organized under the laws of Delaware and has its principal place of
18   business in California.
19            6.        Diversity jurisdiction exists because there is complete diversity
20   between Defendant and Plaintiff.
21            7.        Venue is proper in this judicial district pursuant to 28 U.S.C. section
22   1391(b)(1) because, on information and belief, Defendant resides in this judicial
23   district, and pursuant to 28 U.S.C. section 1391(b)(2) because a substantial part of
24   the events giving rise to the claim occurred in this judicial district.
25            8.        Venue is also proper in this Court pursuant to the terms and conditions
26   of the Purchase Orders between Defendant and PEGATRON. Paragraph 19 of the
27   Purchase Order provides: "All litigation between the parties shall be conducted in
28   the appropriate Federal or State Court within the County of Orange, State of
                                                                COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                               -2-                 AND JURY TRIAL DEMANDED
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 1   California, USA, and both parties agree that such Court shall have jurisdiction over
2    the parties and the subject matter of this Order and agreement."
3                                             PARTIES
4            9.         Plaintiff PEGATRON is a Taiwanese corporation having its principal
 5   place of business at No. 76, Ligong Street, Beitou, Taipei City, Taiwan, 112.
 6   PEGATRON is in the business of, among other things, electronic and computing
 7   manufacturing. Until December 31, 2013, Unihan Corporation and Pegatron
 8   Logistic Service, Inc. ("PLSI") were wholly-owned subsidiaries of PEGATRON.
 9   On December 31, 2013, Unihan Corporation merged into PEGATRON.
10   PEGATRON is the surviving entity. PLSI remains a wholly-owned subsidiary of
11   PEGATRON. On March 1, 2014, PLSI assigned its accounts receivable rights,
12   including rights to collect on outstanding debts against Defendant to PEGATRON.
13   Hereinafter, Plaintiff entities will be referred to as ("PEGATRON").
14            10.       PEGATRON holds many licenses to manufacture products that
15   contain brand name technology or features, including licenses from Dolby and
16   HDMI. These licenses typically require PEGATRON to pay a specified amount per
17   unit sold to manufacture the licensed technology in OEM products, in addition to
18   any annual or initial fees. In the case of HDMI, these fees are called "royalties."
19            11.       PEGATRON is informed and believes, and thereon alleges that
20   Defendant WD is a Delaware limited liability company, having its principal place
21   of business at 500 North State College Blvd., Suite 1300, Orange, California. Since
22   January 2011, WD has marketed and sold finished liquid crystal display ("LCD")
23   products including televisions, and other consumer electronic products under the
24   Westinghouse brand name as a licensee of the Westinghouse Electric Corporation.
25            12.       PEGATRON is ignorant of the true names and capacities of additional
26   defendants, and PEGATRON will amend this Complaint to allege their true names
27   and capacities when ascertained. PEGATRON is informed and believes and
28   thereon alleges that each of the yet-undiscovered defendants is responsible in some
                                                             COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                            -3-                 AND JURY TRIAL DEMANDED
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 1   manner for the occurrences herein alleged, and that the damages as herein alleged
2    were proximately caused by said defendants. PEGATRON is informed and
 3   believes and thereon alleges that defendants, and each of them, were at all times
 4   herein mentioned the agents of their co-defendants, and in doing the things
 5   hereinafter alleged, were acting in part within the course and scope of said agency
 6   and with the permission and consent of their co-defendants, and each of them.
 7                                  FACTUAL ALLEGATIONS
 8            13.       In or about January 2011, WD and PEGATRON entered into the OEM
 9   Agreement whereby PEGATRON would custom manufacture consumer electronic
10   products for WD to purchase, rebrand and retail under the Westinghouse brand
11   name. The majority of these products consisted of LCD televisions in a variety of
12   models, specifications, and features (hereinafter generally referred to as "OEM
13   Products").
14            14.       Nearly all of these OEM Products contained brand name technology
15   licensed from third party entities. Pursuant to PEGATRON's licensing agreements
16   with these third party entities, PEGATRON was obligated to pay the specified fees
17   per unit where the technology or feature was manufactured into the finished OEM
18   Product. The licensing fees were additional costs not covered by, and in addition
19   to, the unit price of OEM Products ordered by WD.
20            15.       The OEM Agreement between WD and PEGATRON was broken
21   down into discrete shipments through Defendant's use of Purchase Orders.
22   Defendant issued numerous Purchase Orders ("POs") to PEGATRON between
23   January 2011 and March 2013, identifying the model, quantity and price per unit of
24   OEM Products it ordered from PEGATRON. PEGATRON manufactured and
25   delivered the OEM Products to Defendant in exchange for WD's payment for the
26   goods. PEGATRON also paid the licensing, royalty and other such similar fees to
27   manufacture third party owned and licensed technology in these OEM Products
28   ordered by WD. WD was obligated to pay for these fees in addition to the price per
                                                            COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                            —4—                AND JURY TRIAL DEMANDED
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 1   unit of OEM Products under the OEM Agreement.
2            16.        The POs provided certain terms and conditions of the OEM
3    Agreement between PEGATRON and WD with respect to model ordered, quantity,
4    price per unit, delivery, choice of law and venue, among other terms. PEGATRON
 5   would manufacture and deliver OEM Products per WD's POs, in return for
 6   specified per unit payment from WD. PEGATRON would invoice WD for the
 7   units delivered pursuant to the POs. The invoices provided the due date of WD's
 8   obligation to pay, the full amount being due 60 days after the date of the invoice.
 9            17.       Defendant issued numerous POs to PEGATRON between January
10   2011 and March 24, 2013, totaling more than $322 million in OEM Products
11   ordered.
12            18.       PEGATRON satisfied the POs by manufacturing the OEM Products
13   pursuant to the OEM Agreement in the quantity, price, model and timing
14   requirements of WD.
15            19.       Between January 2011 and March 24, 2013, PEGATRON satisfied
16   each of Defendant's POs by custom manufacturing the ordered OEM Products and
17   shipping the OEM Products to WD.
18           20.        WD, its agents, representatives, and/or authorized receivers of OEM
19   Products accepted each shipment of OEM Products from PEGATRON made
20   between January 2011 and March 24, 2013.
21           21.        PEGATRON invoiced WD for each shipment of OEM Products.
22   PEGATRON also invoiced Defendant for licensing fees and royalties paid to third
23   party entity licensors for technology manufactured and incorporated in the OEM
24   Products, for example, the license fees for the sound system technology installed in
25   each OEM television set.
26            22.       Defendant paid some but not all of the invoices, but has since failed
27   and refused to provide further payment, despite repeated requests. The POs
28   between June 14, 2012 and March 24, 2013, have been invoiced but remain unpaid.
                                                               COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                              -   5   -
                                                                       AND JURY TRIAL DEMANDED
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 1   The amount of $52,651,937.07 remains outstanding, overdue, and owing, exclusive
 2   of any interest. Attached as Exhibit A is an itemized statement listing the POs and
 3   licensing, royalties, and other such similar fees that Defendant failed and refused to
 4   pay.
 5           23.        WD failed to pay for any licensing, royalty or other such similar fees
 6   PEGATRON paid to third party licensors to manufacture brand name technology in
 7   these OEM Products. WD knew PEGATRON would pay these licensing fees. As
 8   stated herein, WD knew these fees were not included in the unit price for OEM
 9   Products and had agreed to the additional cost.
10            24.       PEGATRON invoiced WD accordingly for the licensing, royalty and
11   other such similar fees paid to third party entity licensors in connection with the
12   manufacturing of these OEM Products ordered by WD. WD refused to pay these
13   invoices and these invoices remain unpaid, outstanding and owing in the amount of
14   at least $411,734.45.
15            25.       Additionally, with respect to certain other licensed use of third party
16   owned technology in these OEM Products, WD falsely represented that it held a
17   license for this other technology and would pay the licensing fee directly to the
18   third party licensor. This representation was false. PEGATRON relied on this
19   representation to manufacture and incorporate this other technology in these OEM
20   Products, believing the license fee had been paid. This third party licensor has
21   since audited PEGATRON and held PEGATRON responsible for paying the
22   licensing fees, in an amount to be determined according to proof.
23            26.       PEGATRON is informed and believes, and on that basis alleges, that
24   Defendant marketed and sold the Products manufactured by PEGATRON in
25   California and throughout the United States. PEGATRON is informed and
26   believes, and on that basis alleges, that Defendant received payments for the sale of
27   these OEM Products.
28            27.       Despite accepting the OEM Products, receiving the benefit from the
                                                                COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.1/LD                              -6-                  AND JURY TRIAL DEMANDED
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 1   goods delivered, selling the goods to retailers and profiting from the sales,
2    Defendant failed to pay in full any of the invoices issued on or after November 15,
 3   2012. Defendant also failed to pay PEGATRON for any of the licensing, royalty,
 4   and other similar fees paid to third-party licensors in connection with
 5   manufacturing the OEM Products.
 6           28.        On or about October 30, 2013, prior legal counsel for PEGATRON
 7   sent WD a letter demanding the payment of all outstanding sums by October 31,
 8   2013 after numerous other written and verbal demands for payment went unheeded.
 9   As of the date of this Complaint, WD has shown no indication that it intends to
10   make current its debt to PEGATRON.
11                                   FIRST CAUSE OF ACTION
12                                       (Breach of Contract)
13           29.        PEGATRON incorporates by reference paragraphs 1 through 28,
14   inclusive, as though fully set forth herein.
15            30.       Pursuant to the OEM Agreement, Defendant agreed to purchase
16   Products from PEGATRON pursuant to the price, terms and conditions described in
17   the POs. The OEM Agreement is a valid and enforceable contract supported by
18   adequate consideration. Each PO separates the OEM Agreement into discrete
19   shipments, thereby spacing out the delivery of Products.
20            31.       PEGATRON fully performed all conditions, covenants, and promises
21   required by it on its part to be performed, in accordance with the terms and
22   conditions of the OEM Agreement by manufacturing and delivering Products.
23   PEGATRON never materially breached the contract at issue.
24            32.       In violation of its promises and obligations under the OEM Agreement
25   and POs, Defendant breached the contract by failing to pay for $52,240,9202.62 of
26   OEM Products and $411,734.45 of licensing fees and royalties paid by
27   PEGATRON to third party entity licensors, for a total of at least $52,651,937.07.
28   Despite its failure to pay for these goods and licenses, Defendant continued to
                                                             COMPLAINT FOR BREACH OF CONTRACT
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 1   derive benefit therefrom by marketing, selling and profiting from these OEM
 2   Products.
 3            33.       Due to the breach of the OEM Agreement as described herein, there
 4   remains owing and unpaid the amount of at least $52,651,937.07, with interest
 5   accruing on each individual invoice at the rate of 10% per annum, from the date
 6   which the obligations became due. The obligations became due 60 days after each
 7   invoice date.
 8            34.       As a direct result of their above-described conduct, Defendant is in
 9   breach of the OEM Agreement contract. Due to said breach, PEGATRON has been
10   damaged in excess of $52,651,937.07, exclusive of the interest.
11            35.       As a further proximate result of Defendant's material breaches,
12   PEGATRON has incurred and continue to incur, incidental and consequential
13   damages to be proven at trial.
14            WHEREFORE, PEGATRON prays for judgment against Defendant as
15   herein set forth.
16                                      PRAYER FOR RELIEF
17            1.        For compensatory damages according to proof;
18            2.        For interest at the rate of 10% per annum, from 60 days after the date
19   of each invoice, until the date that this matter is finally resolved;
20            3.        For such other relief as the Court may deem just and proper.
21                                       DEMAND FOR JURY
22            Plaintiff hereby demands a trial by jury.
23   Dated: May                 ,2014             ROPE              KI, KOHN & BENTLEY
24
25                                           (   By:
                                                       TODD A. 'OBERT
26                                                     CHRISTINA S_CHEN
                                                       Attorney ssf-er-F. lainti ff
27                                                     PEGATRON CORPORATION
28
                                                                COMPLAINT FOR BREACH OF CONTRACT
     RC1/7475113.I/LD                              -8                   AND JURY TRIAL DEMANDED
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                       EXHIBIT A
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                    Due Date          Total Amount                                  Remaining AR
     Bill Date                                           WD PO#       Invoice
                  (0/A 60 days)          (USD)                                         (USD)
 1   11/15/2012     1/14/2013     $       184,949.56    4600010317   60148377   $       130,970.94
2    11/15/2012     1/14/2013     $       527,388.92    4600010317   60148378   $       527,388.92
     11/15/2012     1/14/2013     $       300,609.00    4600010286   60148379   $       300,609.00
4    11/15/2012     1/14/2013     $       306,666.00    4600010260   60148380   $       306,666.00
     11/15/2012     1/14/2013     $       138,681.18    4600010260   60148381   $       138,681.18
 6   11/15/2012     1/14/2013     $       850,422.10    4600010321   60148382   $       850,422.10
 7   11/15/2012     1/14/2013     $      1,849,143.80   4600010324   60148383   $      1,849,143.80
 8   11/19/2012     1/18/2013     $       230,985.04    4600010319   60149654   $       230,985.04
 9   11/19/2012     1/18/2013     $       439,930.56    4600010320   60149655   $       439,930.56
10   11/19/2012     1/18/2013     $       146,343.40    4600010324   60149656   $       146,343.40
11   11/19/2012     1/18/2013     $       151,558.16    4600010325   60149657   $       151,558.16
12   11/19/2012     1/18/2013     $        76,321.98    4600010317   60149816   $        76,321.98
13   11/19/2012     1/18/2013     $        60,121.80    4600010286   60149817   $        60,121.80
14   11/19/2012     1/18/2013     $       766,901.52    4600010321   60149819   $       766,901.52
15   11/19/2012     1/18/2013     $       359,049.60    4600010324   60149820   $       359,049.60
16   11/22/2012     1/21/2013     $         39,978.18   4600010317   60151160   $        39,978.18
17   11/22/2012     1/21/2013     $        199,890.90   4600010317   60151161   $       199,890.90
18   11/22/2012     1/21/2013     $       447,359.22    4600010321   60151162   $       447,359.22
19   11/22/2012     1/21/2013     $        164,365.20   4600010320   60151163   $       164,365.20
20   11/22/2012     1/21/2013     $       576,991.28    4600010325   60151164   $       576,991.28
21   11/26/2012     1/25/2013     $      1,146,720.00   4600010325   60151542   $      1,146,720.00
22   11/26/2012     1/25/2013     $        357,776.64   4600010325   60151543   $       357,776.64
23   11/26/2012     1/25/2013     $       221,697.18    4600010317   60151544   $       221,697.18
24   11/29/2012     1/28/2013     $         71,009.40   4600010321   60153632   $         71,009.40
25   11/29/2012     1/28/2013     $         63,482.40   4600010342   60153633   $         63,482.40
26   11/29/2012     1/28/2013     $        198,826.32   4600010321   60153652   $        198,826.32
27   11/29/2012     1/28/2013     $        175,322.88   4600010320   60153653   $        175,322.88
28   11/30/2012     1/29/2013     $         50,101.50   4600010286   60154273   $         50,101.50
29   11/30/2012     1/29/2013     $        591,060.00   4600010331   60154274   $        591,060.00
30   11/30/2012     1/29/2013     $         82,748,40   4600010331   60154275   $         82,748.40
31   11/30/2012     1/29/2013     $        390,099.60   4600010331   60154276   $        390,099.60
32   11/30/2012     1/29/2013     $        344,054.64   4600010317   60154278   $        344,054.64
33   11/30/2012     1/29/2013     $        184,624.44   4600010321   60154279   $        184,624.44
34   11/30/2012     1/29/2013     $        333,744.18   4600010321   60154280   $        333,744.18
35   11/30/2012     1/29/2013     $         82,527.12   4600010342   60154281   $         82,527.12
36   11/30/2012     1/29/2013     $            793.53   4600010342   60154282   $            793.53
37   11/30/2012     1/29/2013     $          4,027.40   4600010330   60154283   $          4,027.40
38   11/30/2012     1/29/2013     $         96,512.98   4600010319   60154284   $         96,512.98
39   11/30/2012     1/29/2013     $        113,716.40   4600010325   60154285   $        113,716.40
40   11/30/2012     1/29/2013     $        178,303.10   4600010331   60154286   $        178,303.10
41   11/30/2012     1/29/2013     $        130,263.90   4600010286   60154287   $        130,263.90
42   11/30/2012     1/29/2013     $        121,146.00   4600010317   60154288   $        121,146.00
43   11/30/2012     1/29/2013     $         39,918.36   4600010344   60154289   $         39,918.36
44   11/30/2012     1/29/2013     $        257,222.28   4600010410   60154290   $        257,222.28
45   11/30/2012     1/29/2013     $         48,122.62   4600010411   60154291   $         48,122.62
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46   11/30/2012   1/29/2013   $    106,608.48    4600010317   60154293    $    106,608.48
47   12/6/2012    2/4/2013    $    418,891.20    4600010411   60156215    $    418,891.20
48   12/6/2012    2/4/2013    $     85,211.28    4600010321   60156216    $     85,211.28
49   12/6/2012    2/4/2013    $     76,321.98    4600010319   60156217    $     76,321.98
50   12/6/2012    2/4/2013    $     29,920.80    4600010411   60156218    $     29,920.80
51   12/10/2012   2/8/2013    $     54,854.80    4600010411   60156797    $     54,854.80
52   12/10/2012   2/8/2013    $    226,400.72    4600010411   60156798    $    226,400.72
53   12/10/2012   2/8/2013    $    248,245.20    4600010331   60156799    $    248,245.20
54   12/10/2012   2/8/2013    $    333,100.38    4600010343   60156800    $    333,100.38
55   12/10/2012   2/8/2013    $    179,524.80    4600010411   60156801    $    179,524.80
56   12/10/2012   2/8/2013    $      2,250.00    4600010382   71015726    $      2,250.00
57   12/10/2012   2/8/2013    $        500.00    4600010340   71015727    $        500.00
58   12/13/2012   2/11/2013   $    281,255.52    4600010411   60158962    $    281,255.52
59   12/13/2012   2/11/2013   $    368,910.36    4600010343   60158963    $    368,910.36
60   12/13/2012   2/11/2013   $     65,825.76    4600010411    60158964   $     65,825.76
61   12/13/2012   2/11/2013   $    198,767.52    4600010345    60159416   $    198,767.52
62   12/13/2012   2/11/2013   $     32,688.97    4600010326    60159417   $     32,688.97
63   12/14/2012   2/12/2013   $       1,700.00   4600010341    71015662   $       1,700.00
64   12/14/2012   2/12/2013   $        213.64    4600010437   AXXXXXXXX $         213.64
65   12/17/2012   2/15/2013   $   1,198,039.68   4600010320    60160468   $   1,198,039.68
66   12/17/2012   2/15/2013   $    400,935.70    4600010331    60160469   $    400,935.70
67   12/17/2012   2/15/2013   $     56,609.55    4600010376    60160470   $     56,609.55
68   12/17/2012   2/15/2013   $    662,484.63    4600010343    60160471   $    662,484.63
69   12/17/2012   2/15/2013   $    137,635.68    4600010411    60160472   $    137,635.68
70   12/17/2012   2/15/2013   $    311,479.26    4600010343    60160473   $    311,479.26
71   12/18/2012   2/16/2013   $        640.92    4600010449   AXXXXXXXX $         640.92
72   12/18/2012   2/16/2013   $        866.91    4600010449   AXXXXXXXX $         866.91
73   12/18/2012   2/16/2013   $       1,025.01   4600010449   AXXXXXXXX $        1,025.01
74   12/18/2012   2/16/2013   $       1,254.78   4600010449   AXXXXXXXX $        1,254.78
75   12/18/2012   2/16/2013   $       1,303.20   4600010449   AXXXXXXXX $        1,303.20
76   12/20/2012   2/18/2013   $    880,266.96    4600010320    60162196   $    880,266.96
77   12/20/2012   2/18/2013   $    135,068.40    4600010376    60162197   $    135,068.40
78   12/20/2012   2/18/2013   $     40,201.77    4600010343    60162203   $     40,201.77
79   12/20/2012   2/18/2013   $       3,346.08   4600010450   AXXXXXXXX $        3,346.08
80   12/20/2012   2/18/2013   $       2,311.76   4600010448   AXXXXXXXX $        2,311.76
81   12/24/2012   2/22/2013   $    297,740.30    4600010326    60163203   $    297,740.30
82   12/24/2012   2/22/2013   $       8,451.00   4600010345    60163204   $       8,451.00
83   12/24/2012   2/22/2013   $    912,141.00    4600010343    60163205   $    912,141.00
84   12/24/2012   2/22/2013   $      73,862.50   4600010406    60163206   $      73,862.50
85   12/24/2012   2/22/2013   $     174,759.52   4600010444    60163207   $     174,759.52
86   12/24/2012   2/22/2013   $    761,746.05    4600010376    60163208   $    761,746.05
87   12/24/2012   2/22/2013   $       2,406.00   4600010415    60163209   $       2,406.00
88   12/24/2012   2/22/2013   $      64,122.72   4600010320    60163221   $      64,122.72
89   12/24/2012   2/22/2013   $      74,322.60   4600010343    60163222   $      74,322.60
90   12/25/2012   2/23/2013   $       3,900.00   4600010449    71016000   $       3,900.00
91   12/25/2012   2/23/2013   $         200.00   4600010437    71016001   $         200.00
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92    12/25/2012   2/23/2013   $      2,000.00          4600010448            71016002   $      2,000.00
93    12/25/2012   2/23/2013   $      2,250.00          4600010450            71016003   $      2,250.00
94    12/28/2012   2/26/2013   $     44,420.48          4600010444            60164902   $     44,420.48
95     1/8/2013    3/9/2013    $    248,399.14    Dolby Royalty fee-2012 Q4   71016233   $    248,399.14
96    1/10/2013    3/11/2013   $    405,648.00          4600010345            60168822   $    405,648.00
97    1/10/2013    3/11/2013   $        421.28          4600010361            60168823   $        421.28
98    1/14/2013    3/15/2013   $     52,363.65          4600010343            60169697   $     52,363.65
99    1/14/2013    3/15/2013   $     72,971.28          4600010343            60169698   $     72,971.28
100   1/14/2013    3/15/2013   $   1,583,673.48         4600010355            60169699   $   1,583,673.48
101   1/14/2013    3/15/2013   $    479,715.84          4600010326            60169700   $    479,715.84
102   1/14/2013    3/15/2013   $     69,573.50          4600010415            60169701   $     69,573.50
103   1/14/2013    3/15/2013   $    536,844.88          4600010444            60169702   $    536,844.88
104   1/17/2013    3/18/2013   $    142,415.64          4600010326            60171757   $    142,415.64
105   1/17/2013    3/18/2013   $      18,411.12         4600010444            60171758   $     18,411.12
106   1/17/2013    3/18/2013   $    231,454.08          4600010444            60171759   $    231,454.08
107   1/17/2013    3/18/2013   $    307,253.08          4600010445            60171760   $    307,253.08
108   1/17/2013    3/18/2013   $   2,394,840.00         4600010355            60171761   $   2,394,840.00
109   1/21/2013    3/22/2013   $     46,847.25          4600010326            60172677   $     46,847.25
110   1/21/2013    3/22/2013   $    591,558.30          4600010414            60172678   $    591,558.30
111   1/21/2013    3/22/2013   $    209,665.48          4600010445            60172679   $    209,665.48
112   1/21/2013    3/22/2013   $      78,596.00         4600010415            60172680   $     78,596.00
113   1/21/2013    3/22/2013   $     107,050.00         4600010414            60172681   $    107,050.00
114   1/21/2013    3/22/2013   $         601.50         4600010415            60172682   $         601.50
115    1/31/2013    4/1/2013   $      21,654.00         4600010415            60177348   $      21,654.00
116    1/31/2013    4/1/2013   $      66,275.44          4600010321           60177349   $      66,275.44
117    1/31/2013    4/1/2013   $    366,190.74           4600010483           60177350   $    366,190.74
118    1/31/2013    4/1/2013   $      50,526.00          4600010415           60177351   $      50,526.00
119    1/31/2013    4/1/2013   $     161,603.00          4600010415           60177352   $     161,603.00
120    1/31/2013    4/1/2013   $     735,816.00          4600010431           60177353   $    735,816.00
121    1/31/2013    4/1/2013   $     577,440.00          4600010415           60177354   $     577,440.00
122    1/31/2013    4/1/2013   $    402,386.60           4600010321           60177355   $    402,386.60
123    1/31/2013    4/1/2013   $     117,568.98          4600010402           60177356   $     117,568.98
124    1/31/2013    4/1/2013   $     589,080.60          4600010431           60177357   $     589,080.60
125    2/7/2013     4/8/2013   $       5,070.60          4600010345           60179111   $       5,070.60
126    2/18/2013   4/19/2013   $     279,441.12          4600010375           60181134   $     279,441.12
127    2/18/2013   4/19/2013   $   1,024,992.00          4600010441           60181135   $   1,024,992.00
128    2/18/2013   4/19/2013   $     494,956.56          4600010439           60181136   $     494,956.56
129    2/18/2013   4/19/2013   $     315,814.95          4600010442           60181137   $     315,814.95
130    2/18/2013   4/19/2013   $     171,577.44          4600010483           60181138   $     171,577.44
131    2/18/2013   4/19/2013   $      22,939.28          4600010411           60181139          22,939.28
132    2/18/2013   4/19/2013   $      44,653.72          4600010445           60181140   $      44,653.72
133    2/18/2013   4/19/2013   $      54,739.20          4600010355           60181141   $      54,739.20
134    2/18/2013   4/19/2013   $      67,608.00          4600010345           60181142   $      67,608.00
135    2/18/2013   4/19/2013   $     444,467.16          4600010445           60181143   $     444,467.16
136    2/18/2013   4/19/2013   $     240,529.77          4600010442           60181144   $     240,529.77
137    2/18/2013   4/19/2013   $      72,155.68          4600010445           60181145   $      72,155.68
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138   2/18/2013   4/19/2013   $      2,957.20    4600010445   60181146    $      2,957.20
139   2/18/2013   4/19/2013   $      8,340.57    4600010483   60181147    $      8,340.57
140   2/18/2013   4/19/2013   $     49,028.90    4600010414   60181148    $     49,028.90
141   2/18/2013   4/19/2013   $    165,333.24    4600010377   60181149    $    165,333.24
142   2/18/2013   4/19/2013   $     79,434.00    4600010483   60181150    $     79,434.00
143   2/18/2013   4/19/2013   $    831,215.40    4600010431   60181183    $    831,215.40
144   2/21/2013   4/22/2013   $     56,357.55    4600010442   60183105    $     56,357.55
145   2/21/2013   4/22/2013   $     39,035.04    4600010445   60183106    $     39,035.04
146   2/25/2013   4/26/2013   $      6,801.56    4600010445   60185262    $      6,801.56
147   2/25/2013   4/26/2013   $     18,502.29    4600010442   60185263    $     18,502.29
148   2/27/2013   4/28/2013   $      7,984.44    4600010445   60187010    $      7,984.44
149   2/27/2013   4/28/2013   $     31,900.50    4600010442   60187011    $     31,900.50
150   3/4/2013    5/3/2013    $    196,507.08    4600010442   60189353    $    196,507.08
151   3/4/2013    5/3/2013    $    283,701.78    4600010442   60189353    $    283,701.78
152   3/4/2013    5/3/2013    $    133,705.12    4600010466   60189354    $    133,705.12
153   3/4/2013    5/3/2013    $     21,872.88    4600010377   60189355    $     21,872.88
154   3/4/2013    5/3/2013    $       1,286.64   4600010377   60189355    $       1,286.64
155   3/4/2013    5/3/2013    $   1,281,493.44   4600010377   60189356    $   1,281,493.44
156   3/7/2013    5/6/2013    $     89,423.36    4600010466   60190355    $     89,423.36
157   3/11/2013   5/10/2013   $    116,938.24    4600010466   60191499    $    116,938.24
158   3/11/2013   5/10/2013   $       1,690.70   4600010321   60191980    $       1,690.70
159   3/11/2013   5/10/2013   $       5,070.60   4600010345   60191981    $       5,070.60
160   3/11/2013   5/10/2013   $    216,249.76    4600010466   60191982    $    216,249.76
161   3/11/2013   5/10/2013   $    282,475.68    4600010467   60191983    $    282,475.68
162   3/11/2013   5/10/2013   $    461,914.64    4600010445   60191984    $    461,914.64
163   3/11/2013   5/10/2013   $    908,179.72    4600010446   60191985    $    908,179.72
164   3/11/2013   5/10/2013   $    440,030.88    4600010377   60191986    $    440,030.88
165   3/14/2013   5/13/2013   $    425,930.40    4600010345   60193268    $    425,930.40
166   3/14/2013   5/13/2013   $     92,638.08    4600010377   60193275    $      92,638.08
167   3/18/2013   5/17/2013   $    216,155.52    4600010377   60194120    $    216,155.52
168   3/18/2013   5/17/2013   $    151,861.52    4600010446   60194121    $    151,861.52
169   3/18/2013   5/17/2013   $    812,009.60    4600010467   60194122    $    812,009.60
170   3/18/2013   5/17/2013   $       8,461.20   4600010490   60194123    $       8,461.20
171   3/18/2013   5/17/2013   $    248,547.75    4600010490   60194124    $    248,547.75
172   3/18/2013   5/17/2013   $      11,365.32   4600010378    60194125   $      11,365.32
173   3/18/2013   5/17/2013   $    150,420.91    4600010440    60194126   $     150,420.91
174   3/21/2013   5/20/2013   $    592,926.60    4600010377    60196444   $    592,926.60
175   3/21/2013   5/20/2013   $    264,833.40    4600010378    60196445   $    264,833.40
176   3/21/2013   5/20/2013   $     154,058.40   4600010440    60196446   $     154,058.40
177   3/22/2013   5/21/2013   $       3,495.20   4600010498   AXXXXXXXX $        3,495.20
178   3/25/2013   5/24/2013   $       2,520.00   4600010498    71017285   $       2,520.00
179   3/25/2013   5/24/2013   $       3,587.28   4600010446    60197348   $       3,587.28
180   3/28/2013   5/27/2013   $    410,822.40    4600010440    60198878   $    410,822.40
181   3/28/2013   5/27/2013   $    425,930.40    4600010345    60198879   $    425,930.40
182    4/1/2013   5/31/2013   $    205,411.20    4600010440    60200832   $    205,411.20
183    4/3/2013    6/2/2013   $    427,940.00    4600010440    60201452   $    427,940.00
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184   4/25/2013   6/24/2013   $     1,229.60          4600010549            AXXXXXXXX $      1,229.60
185   4/30/2013   6/29/2013   $   246,220.92          4600010490             60212015   $   246,220.92
186   4/30/2013   6/29/2013   $   195,979.68          4600010518             60212016   $   195,979.68
187   5/8/2013    7/7/2013    $       366.76          4600010549            AXXXXXXXX $        366.76
188   5/13/2013   7/12/2013   $   230,108.62          4600010518             60216553   $   230,108.62
189   5/13/2013   7/12/2013   $   124,888.50          4600010519             60216554   $   124,888.50
190   5/13/2013   7/12/2013   $     6,097.25          4600010519             60216555   $     6,097.25
191   5/16/2013   7/15/2013   $   191,748.00          4600010519             60217574   $   191,748.00
192   5/20/2013   7/19/2013   $    17,478.72          4600010535             60218153   $    17,478.72
193   5/20/2013   7/19/2013   $   187,480.08          4600010535             60218154   $   187,480.08
194   5/20/2013   7/19/2013   $   788,183.55          4600010489             60218155   $   788,183.55
195   5/20/2013   7/19/2013   $   144,738.00          4600010489             60218156   $   144,738.00
196   5/20/2013   7/19/2013   $   138,554.75          4600010519             60218157   $   138,554.75
197   5/20/2013   7/19/2013   $   437,996.59          4600010440             60218158   $    39,697.52
198   5/20/2013   7/19/2013   $   126,150.00          4600010519             60218159   $   126,150.00
199   5/20/2013   7/19/2013   $   101,971.25          4600010519             60218159   $   101,971.25
200   5/22/2013   7/21/2013   $   159,607.23    Dolby Royalty fee-2013 Q1    71018179   $   159,607.23
201   5/23/2013   7/22/2013   $     3,728.08    HDMI Royalty fee-2013 Q1     71018187   $     3,728.08
202   5/23/2013   7/22/2013   $     1,243.26          4600010553             60219948   $     1,243.26
203   5/23/2013   7/22/2013   $   134,479.29          4600010553             60219949   $   134,479.29
204   5/23/2013   7/22/2013   $    57,222.00          4600010535             60219950   $    57,222.00
205   5/27/2013   7/26/2013   $   518,025.00          4600010553             60221016   $   518,025.00
206   6/19/2013   8/18/2013   $    40,470.30      May HUB Storage fee        71018583   $    40,470.30
207   6/24/2013   8/23/2013   $   411,226.20          4600010491             60231156   $   319,275.00
208   7/10/2013    9/8/2013   $    68,586.51          4600010553             60240934   $    20,575.95
209   7/10/2013    9/8/2013   $     1,246.70          4600010411             60240935   $       374.00
210   7/10/2013    9/8/2013   $     8,669.26          4600010446             60240936   $     2,600.78
211   7/10/2013    9/8/2013   $    47,325.60          4600010345             60240937   $    14,197.68
212   7/10/2013    9/8/2013   $    60,767.01          4600010483             60240938   $    18,230.10
213   7/10/2013    9/8/2013   $   135,949.00          4600010484             60240939   $    40,784.70
214   7/10/2013    9/8/2013   $       930.06          4600010530             60240940   $       279.02
215   7/10/2013    9/8/2013   $     2,493.56          4600010564             60240941   $       748.08
216   7/18/2013   9/16/2013   $   229,878.00          4600010491             60240922   $    68,963.40
217   7/19/2013   9/17/2013   $   535,956.30           4600010491            60241419   $   160,786.89
218   7/19/2013   9/17/2013   $   152,132.62           4600010517            60241420   $    45,639.79
219   7/22/2013   9/20/2013   $   296,679.68           4600010517            60241885   $    89,003.90
220   7/19/2013   9/17/2013   $   193,948.56           4600010553            60241421   $    58,184.57
221   7/17/2013   9/15/2013   $       146.68           4600010564            60240713   $        44.00
222   7/17/2013   9/15/2013   $       620.04           4600010565            60240714   $       186.01
223   7/22/2013   9/20/2013   $    11,160.72           4600010565            60241884   $     3,348.22
224   7/29/2013   9/27/2013   $   446,428.80           4600010565            60246160   $   133,928.64
225   7/29/2013   9/27/2013   $    16,162.38           4600010553            60246158   $     4,848.71
226   7/29/2013   9/27/2013   $   167,556.48           4600010411            60246159   $    50,266.94
227   7/29/2013   9/27/2013   $    29,121.30      June HUB Storage fee       71019282   $    29,121.30
228   7/29/2013   9/27/2013   $    85,311.77    Dolby Royalty fee-2013 Q2    71019283   $    85,311.77
229   7/29/2013   9/27/2013   $      1,061.72   HDMI Royalty fee-2013 Q2     71019284   $      1,061.72
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230   7/31/2013   9/29/2013    $   406,126.20       4600010565         60248505   $    121,837.86
231   7/31/2013   9/29/2013    $   146,497.47       4600010553         60248506   $     43,949.24
232   7/31/2013   9/29/2013    $    33,429.99       4600010554         60248628   $     10,029.00
233   7/31/2013   9/29/2013    $   184,370.50       4600010576         60248629   $     55,311.15
234   8/2/2013    10/1/2013    $       748.02       4600010411         60249496   $        224.41
235   8/2/2013    10/1/2013    $    42,353.89       4600010522         60249497   $     12,706.17
236   8/6/2013    10/5/2013    $    16,186.20       4600010522         60250380   $      4,855.86
237   8/6/2013    10/5/2013    $    29,554.20   July HUB Storage fee   71019392   $     29,554.20
238   8/9/2013    10/8/2013    $   107,908.00       4600010522         60251037   $     32,372.40
239   8/12/2013   10/11/2013   $   181,285.44       4600010522         60251509   $     54,385.63
240   8/12/2013   10/11/2013   $     1,126.50       4600010576         60251555   $        337.95
241   8/14/2013   10/13/2013   $    26,977.00       4600010522         60252347   $      8,093.10
242   8/22/2013   10/21/2013   $   696,276.37       4600010522         60255025   $    208,882.91
243   8/22/2013   10/21/2013   $    99,184.97       4600010523         60255016   $     29,755.49
244   8/22/2013   10/21/2013   $   566,629.50       4600010576         60255026   $    169,988.85
245   8/22/2013   10/21/2013   $   719,645.75       4600010576         60255017   $    215,893.72
246   9/11/2013   11/10/2013   $   182,687.48    NRE fee(balance)      71020061   $    182,687.48
247   9/11/2013   11/10/2013   $   601,021.46   Tooling fee(balance)   71020062   $    601,021.46
                                                                                  $ 52,651,937.07
